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Counsel for Objectors


                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA
                                OAKLAND DIVISION



                                               Case No.: 4:20-CV-03919-CW

IN RE: COLLEGE ATHLETE NIL
LITIGATION                                     NOTICE OF APPEAL FROM A
                                               JUDGEMENT OR ORDER OF A UNITED
                                               STATES DISTRICT COURT


                                               Hon. Claudia Wilken




    NOTICE OF APPEAL FROM A JUDGEMENT OR ORDER OF A UNITED STATES
                            DISTRICT COURT
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1            Notice is hereby given that Objectors in the above named case, CHARLOTTE NORTH,
2
     MAI NIRUNDORN, KATHERINE MCCABE ERNST, SARAH BROOKE BAKER, hereby
3
     appeal to the United States Court of Appeals for the Ninth Circuit the following orders and
4
     judgements dated June 6, 2025 in Case Number 4:20-cv-03919 CW in the U.S. District Court of
5

6    the Northern District of California, which was filed on June 15, 2020: Order Granting Plaintiffs’

7    Motion for Final Settlement Approval As Modified (ECF No. 979), the accompanying Opinion
8
     Regarding Order Granting Motion for Final Settlement Approval of Settlement Agreement (ECF
9
     No. 978), and the Final Judgement of Dismissal With Prejudice As to Defendants National
10
     Collegiate Athletic Association, Athletic Coast Conference, The Big Ten Conference, Inc., The
11

12   Big 12 Conference, Inc., Pac-12 Conference and Southeastern Conference as Modified (ECF No.

13   980).
14
             The fee for appeal has been paid. This is not a cross appeal. There has been a prior
15
     Notice of Appeal filed on June 11, 2025 (ECF No. 982).
16
             A Local Rule 3-2 Representation Statement is attached hereto.
17

18                  Dated June 16, 2025

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         NOTICE OF APPEAL FROM A JUDGEMENT OR ORDER OF A UNITED STATES
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1                   LOCAL RULE 3-2 REPRESENTATION STATEMENT
2
     1) Objectors and Appellants Charlotte North, Mai Nirundorn, Katherine McCabe Ernst and
3       Sarah Brooke Baker, are represented in this matter by:

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     2) Plaintiffs and Appellees Grant House, Tymir Oliver and Sedona Prince, are represented
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         Emilee Sisco (pro hac vice)                     David G. Feher (pro hac vice)
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     3) Defendants and Appellee National Collegiate Athletic Association is represented in this
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1    5) Defendant and Appellee The Big Ten Conference, Inc., in this matter is represented by:
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     6) Defendant and Appellee The Big Twelve Conference, Inc. in this matter is represented
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1    7) Defendant and Appellee Southeastern Conference in this matter is represented by:
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18   8) Defendant and Appellee Atlantic Coast Conference in this matter is represented by:

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         Gregory G. Holland (pro hac vice)               LATHAM & WATKINS LLP
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11           Dated June 16, 2025

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